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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    D.J.C.V., a minor child, and G.C., his father,

                                          Plaintiffs,                     20 Civ. 5747 (PAE)
                           -v-
                                                                                ORDER
    UNITED STATES OF AMERICA,

                                          Defendant.


PAUL A. ENGELMAYER, District Judge:

          On October 16, 2020, defendant filed a motion to dismiss the complaint under Rule 12 of

the Federal Rules of Civil Procedure. Dkt. 21. Under Rule 15(a)(1)(B), a plaintiff has 21 days

after the service of a motion under Rule 12(b) to amend the complaint once as a matter of course.

          Accordingly, it is hereby ORDERED that plaintiffs shall file any amended complaint by

November 6, 2020. No further opportunities to amend will ordinarily be granted. If plaintiffs do

amend, by November 27, 2020, defendant shall: (1) file an answer; (2) file a new motion to

dismiss; or (3) submit a letter to the Court, copying plaintiffs, stating that they rely on the

previously filed motion to dismiss.1

          It is further ORDERED that if no amended complaint is filed, plaintiffs shall serve any

opposition to the motion to dismiss by November 6, 2020. Defendants’ reply, if any, shall be

served by November 20, 2020.


          SO ORDERED.




1
 If defendants file a new motion to dismiss or rely on their previous motion, plaintiff’s
opposition will be due 14 days thereafter, and defendants’ reply, if any, will be due seven days
after that.
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                                             PaJA.�
                                          __________________________________
                                                PAUL A. ENGELMAYER
                                                United States District Judge
Dated: October 19, 2020
       New York, New York




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